Case 1:19-ap-01010       Doc 18    Filed 07/17/19 Entered 07/17/19 14:30:21            Desc Main
                                   Document     Page 1 of 8


                          UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF RHODE ISLAND


STACY B. FERRARA                                    Chapter 7
          Trustee                                   BK No. 18-10071

VS.                                                 AP Case No. 19-01010

DAVID W. WAGNER
         Debtor/Defendant

                  MOTION FOR STAY OF ADVERSARY PROCEEDINGS

                                     Preliminary Statement

The Debtor/Defendant (“Debtor”) has been served with documents relating to two civil
enforcement proceedings of the Securities and Exchange Commission (“SEC”), in New York
and in Massachusetts, and a criminal proceeding in the Southern District of New York, as
follows:

      1. Securities and Exchange Commission v. David Wagner, Mark Lawrence, Downing
         Partners, LLC, Downing Investment Partners, LP, and Downing Digital Healthcare
         Group, LLC: C.A. No. 19-civ.-5570, (D.C.S.D.N.Y). (Exhibit A)

      2. Massachusetts Securities Division, C.A. No E-2015-0171. (Exhibit B)

      3. United States v. David Wagner, 19 Cr. 437 (AKH) (S.D.N.Y.). (Exhibit C)

The gravamen of these actions are inextricably interwoven with the various adversary
proceedings in the Bankruptcy Court. These adversary proceedings are, by and large, filed by the
same creditors involved in the criminal and securities matters, and the objection to discharge
filed by the Trustee also draws on the same legal and factual circumstances. Upon consultation
with criminal defense counsel in New York, this motion is being filed to request that the within
adversary proceedings be stayed for a reasonable period of time in order for criminal counsel to
ensure that the Debtor’s constitutional rights are not impaired by further proceedings or
discovery in the Bankruptcy Court. The factual and legal basis for this motion is set forth below.

                                             Argument
The motion seeks a stay of the Debtor’s adversary proceedings in order to protect his right
against self-incrimination under the Fifth Amendment to the United States Constitution. The
factors courts consider in determining whether to impose such a stay weigh strongly in support
Case 1:19-ap-01010       Doc 18    Filed 07/17/19 Entered 07/17/19 14:30:21             Desc Main
                                   Document     Page 2 of 8


of delaying the bankruptcy proceeding. See generally In re SK Foods, L.P., 2010 WL 5136189,
at **5-6 (E.D. Cal. Dec. 10, 2010) (reversing Bankruptcy Court’s denial of a stay pending
resolution of a related criminal matter).

On June 12, 2019, a five-count criminal indictment was filed in the Southern District of New
York charging Mr. Wagner with securities and wire fraud. See United States v. David Wagner,
19 Cr. 437 (AKH) (S.D.N.Y.). Counsel was appointed for Mr. Wagner on June 26, 2019, after
which Mr. Wagner was presented and arraigned on the indictment.

The bankruptcy proceeding is inextricably intertwined with the charged criminal case. In broad
strokes, the indictment alleges that Mr. Wagner engaged in a scheme to defraud a number of
employee-investors through entities including: Downing Partners, LLC; Downing Investment
Partners, LP.; Downing Digital Healthcare Group, LLC; Downing Medical Device Group, LLC;
Downing Health Technologies, LLC; 3si Systems, LLC; Cliniflow; and Hanover Square
Partners, LP. Based on conversations with the Assistant United States Attorneys who are
prosecuting the case, as well as my review of documents from the bankruptcy case, the two
proceedings are closely related: employee-investors are both alleged victims of the fraud and
creditors in the bankruptcy proceeding, and Mr. Wagner’s conduct in connection with these
investments is the subject matter of both the civil and criminal matters.

While the Constitution “does not ordinarily require a stay of civil proceedings pending the
outcome of criminal proceedings,” see Keating v. Office of Thrift Supervision, 45 F.3d 322, 324
(9th Cir. 1989), a court has the power to enter such a stay: “The power to stay a civil proceeding
by reason of a pending criminal investigation is within a court’s inherent discretionary power.”
Sterling Nat. Bank v. A-1 Hotels Intern., Inc., 175 F. Supp. 2d 573, 575-76 (S.D.N.Y. 2001)
(internal quotation omitted).

In determining whether a stay is appropriate, courts consider a number of factors, including: (1)
the extent to which the issues in the criminal case overlap with those presented in the civil case,
and thus the extent to which the defendant’s fifth amendment rights are implicated; (2) the status
of the case, including whether the defendants have been indicted; (3) the plaintiffs interest in
proceeding expeditiously weighed against the prejudice to plaintiff caused by a delay; (4) the
private interests of and burden on defendants; (5) the interests of the court; and (6) the public
interest. See In re Global Protection USA, Inc., 2015 WL 194198, at *2 (Bankr. D.N.J. Jan. 13,
2015).

When a criminal investigation has ripened into an indictment, “the weight of authority in [the
Second Circuit] indicates that courts will stay a civil proceeding.” In re Marceca, 131 B.R. 774
(1991). As then-District Judge Lynch observed:

               When a defendant has been indicted, his situation is particularly
               dangerous, and takes a certain priority, for the risk to his liberty,
               the importance of safeguarding his constitutional rights, and even
Case 1:19-ap-01010       Doc 18     Filed 07/17/19 Entered 07/17/19 14:30:21              Desc Main
                                    Document     Page 3 of 8


               the strain on his resources and attention that makes defending
               satellite civil litigation particularly difficult, all weigh in favor of
               his interest. Moreover, if the potential prejudice to the defendant is
               particularly high post-indictment, the prejudice to the plaintiff of
               staying proceedings is somewhat reduced, since the criminal
               litigation has reached a crisis that will lead to a reasonably speedy
               resolution.”

Sterling Nat. Bank, 175 F. Supp. 2d. at 577 (citing the Speedy Trial Act, 18 U.S.C. §§ 3161-74);
see also In Re SK Foods, 2010 WL 5136189, at *5 (“Permitting simultaneous proceedings may
seriously undermine the ability of a person presumed innocent to defend himself and may
provide the prosecution an undue advantage.”).

Here, there is a clear overlap between the bankruptcy proceeding and the criminal case: the
alleged victims of the charged fraud are among the creditors here, and Mr. Wagner’s conduct,
both individually and in connection with the entities listed above, is the crucial subject matter of
both proceedings. Mr. Wagner’s Fifth Amendment rights will be “implicated any time that he
testifies or responds to discovery requests that are admissible to prove that he engaged in the
conduct alleged in the indictment.” In re SK Foods, 201 WL 5136189, at *7. Under these
circumstances, continuing the bankruptcy proceedings while the criminal case is pending will
seriously undermine Mr. Wagner’s ability to defend himself. Accordingly, the bankruptcy
proceedings must be stayed.

    Summary of Overlapping Allegations of the SEC, Indictment and Adversary Proceedings

   1) Misappropriation of funds.
       Indictment Proceedings: 19 CR 437; Paragraphs #2, 4,17,22,28

       Trustee Objection Discharge; AP Case No. 19-01010: Paragraphs #37, 88-104, 113-142,
       156-161
       Adversary Proceedings (e.g.) Hilderbrand AP Case No. 18-01035: Paragraphs #43, 45


   2) False or misleading information.
           Indictment Proceedings: 19 CR 437; Paragraphs #2,3,4,17,26,27,31,32
           Trustee Objection Discharge; AP Case No. 19-01010: Paragraphs #62, 48-56, 80-83
           Adversary Proceedings (e.g.) Hilderbrand; AP Case No. 18-01035: Paragraphs #31-
           42, 57-61


   3) Conspiracy to induce investors.
Case 1:19-ap-01010     Doc 18    Filed 07/17/19 Entered 07/17/19 14:30:21       Desc Main
                                 Document     Page 4 of 8


         Indictment Proceedings: 19 CR 437; Paragraphs #1, 2, 4,5,17, 30

         Trustee Objection Discharge; AP Case No. 19-01010: Paragraphs #62, 48-56, 80-83
           Adversary Proceedings (e.g.) Hilderbrand; AP Case No. 18-01035: Paragraphs #64-
           66, 73


   4) Willful and purposeful withholding of material information.
         Indictment Proceedings: 19 CR 437; Paragraphs #3, 17

         Trustee Objection Discharge; AP Case No. 19-01010: General references throughout
           Adversary Proceedings (e.g.) Hilderbrand; AP Case No. 18-01035: Paragraphs #47-
           50


   5) Financial mismanagement.
         Indictment Proceedings: 19 CR 437; Paragraphs #4, 17, 22, 28
         Trustee Objection Discharge; AP Case No. 19-01010: Paragraphs #37, 88-104, 113-
         142, 156-161
         Adversary Proceedings (e.g.) Hilderbrand; AP Case No. 18-01035: Paragraphs #43, 45


   6) Companies having no prospects of genuine commercial success.
         Indictment Proceedings: 19 CR 437; Paragraphs #14, 23, 32

         Trustee Objection Discharge; AP Case No. 19-01010: General references throughout
         Adversary Proceedings (e.g.) Hilderbrand; AP Case No. 18-01035: Paragraphs #44


   7) Purposeful and unnecessary complexity.
         Indictment Proceedings: 19 CR 437; Paragraphs #17, 23, 26

         Trustee Objection Discharge; AP Case No. 19-01010: Paragraphs #30, 146, 153
         Adversary Proceedings (e.g.) Hilderbrand; AP Case No. 18-01035: Paragraphs #55,
      76, 78
Case 1:19-ap-01010        Doc 18    Filed 07/17/19 Entered 07/17/19 14:30:21       Desc Main
                                    Document     Page 5 of 8


WHEREFORE, the Debtor/Defendant respectfully requests that the proceedings in the matter
entitled Ferrara v. Wagner, AP No. 19-01010, be stayed pending further order of the Court.



                                             David W. Wagner
                                             By his attorneys,

                                             /s/RUSSELL D. RASKIN
                                             BC #1880
                                             RASKIN & BERMAN
                                             116 East Manning Street
                                             Providence, RI 02906
                                             (401) 421-1363
                                             russell@raskinberman.com


                               CERTIFICATE OF SERVICE

I hereby certify that on July 17, 2019, I electronically filed the within Motion for Stay of
Proceedings with the Clerk of the Bankruptcy Court for the District of Rhode Island using the
CM/ECF System. The following participants have received notice electronically:

In re Ferrara v. Wagner (AP No. 19-01010):

   •   Joel J. Votolato    joel@gbdvlaw.com

In re Hilderbrand v. Wagner (AP No. 18-01043 and 18-01035), and
In re Wesley Holding Ltd v. Wagner (AP No. 18-01044):

   •   Matthew J. McGowan          mmcgowan@smsllaw.com, bsiter@smsllaw.com

In re Wesley Holding Ltd v. Wagner (AP No. 18-01036):

   •   Elizabeth A. Lonardo elonardo@davidrosenlegal.com, amy@davidrosenlegal.com
   •   Matthew J. McGowan mmcgowan@smsllaw.com, bsiter@smsllaw.com

In re Pila v. Wagner (AP No. 18-01042):

   •   Jeffrey C. Ankrom jeffrey.ankrom@lockelord.com,
       jeffrey.ankrom@gmail.com;elizabeth.kula@lockelord.com;Autodocket@lockelord.com
   •   Joseph A. Farside joseph.farside@lockelord.com,,
       elizabeth.kula@lockelord.com;laura.verdecchia@lockelord.com;Autodocket@lockelord.
       com
Case 1:19-ap-01010       Doc 18    Filed 07/17/19 Entered 07/17/19 14:30:21            Desc Main
                                   Document     Page 6 of 8


In re Hassman v. Wagner (AP No. 18-01041):

   •   Charles A. Pisaturo    Charlie@pisaturolaw.com, Jenn@pisaturolaw.necoxmail.com

and I hereby certify that I have mailed by United States Postal Service, postage pre-paid, or
emailed, respectively, the document electronically filed with the court to the following non
CM/ECF participants:

In re Bankruptcy Case No. 18-10071:

   •   Jeffrey C. Ankrom jeffrey.ankrom@lockelord.com,
       jeffrey.ankrom@gmail.com;elizabeth.kula@lockelord.com;Autodocket@lockelord.com
   •   Gary L. Donahue ustpregion01.pr.ecf@usdoj.gov
   •   Catherine V. Eastwood bankruptcy@kordeassoc.com,
       ceastwood@kordeassociates.com
   •   Joseph A. Farside joseph.farside@lockelord.com,,
       elizabeth.kula@lockelord.com;laura.verdecchia@lockelord.com;Autodocket@lockelord.
       com
   •   Stacy B. Ferrara sferrara@ndgrb.com,
       RI11@ecfcbis.com;mlavin@ndgrb.com;sferraralaw@hotmail.com
   •   Peter J. Furness peter@rhf-lawri.com, kristin@rhf-lawri.com;kristen@rhf-lawri.com
   •   Vincent A. Indeglia vincent@indeglialaw.com,
       alisha@indeglialaw.com;Jeffrey.todd@indeglialaw.com;Jennifer.puchala@indeglialaw.c
       om
   •   Lynda L. Laing lynn@straussfactor.com, straussfactorlaw@cs.com
   •   Elizabeth A. Lonardo elonardo@davidrosenlegal.com, amy@davidrosenlegal.com
   •   Matthew J. McGowan mmcgowan@smsllaw.com, bsiter@smsllaw.com
   •   Charles A. Pisaturo Charlie@pisaturolaw.com, Jenn@pisaturolaw.necoxmail.com
   •   Thomas P. Quinn tquinn@mclaughlinquinn.com, mwoodside@mclaughlinquinn.com

American Express National Bank
c/o Becket and Lee LLP
PO Box 3001
Malvern, PA 19355-0701

Glenn Haufler
8 Walnut Street
Acton, MA 01720

Henry Howard
1600 Ponce De Leon Blvd
Suite 1106
Coral Gables, FL 33134

Craig R. Jalbert
Verdolino & Lowey, P.C.
Case 1:19-ap-01010      Doc 18       Filed 07/17/19 Entered 07/17/19 14:30:21     Desc Main
                                     Document     Page 7 of 8


124 Washington Street
Foxboro, MA 02035

Ronald W. Page
82 Crestone Way
Castle Rock, CO 80108

Stephen G Post
129 Main Street
#1516
Stony Brook, NY 11790

State of RI - Division of Taxation
RI Division of Taxation
Bankruptcy Unit
One Capitol Hill
Providence, RI 02908-5800

Craig S. Tarasoff
Liddle & Robinson, LLP
800 Third Avenue
New York, NY 10022
ctarasoff@liddlerobinson.com

In re Pila v. Wagner (AP No. 18-01042):

Craig S. Tarasoff
Liddle & Robinson, LLP
800 Third Avenue
New York, NY 10022
ctarasoff@liddlerobinson.com

In re Securities and Exchange Commission v. David Wagner, et al: C.A. No. 19-civ.-5570,
(D.C.S.D.N.Y).

Marc P. Berger
Lara Shalov Mehraban
Sandeep Satwalekar
Jorge G. Tenreiro
Christopher Dunnigan
New York Regional Office
SECURITIES AND EXCHANGE
COMMISSION
200 Vesey Street, Suite 400
New York, New York 10281
Case 1:19-ap-01010     Doc 18    Filed 07/17/19 Entered 07/17/19 14:30:21   Desc Main
                                 Document     Page 8 of 8


In re United States v. David Wagner, 19 Cr. 437 (AKH) (S.D.N.Y.):

   •   Martin S. Cohen, Esquire Martin_Cohen@fd.org

In re Massachusetts Securities Division, C.A. No E-2015-0171:

   •   Patrick M. Costello patrick.costello@state.ma.us
   •   Bridget O’Sullivan bridget.o'sullivan@state.ma.us

David W. Wagner
55 Downing Street
East Greenwich, RI 02818


/s/ESTHER RASKIN
